        Case 1:12-cr-00033-PB   Document 47   Filed 07/23/12   Page 1 of 2




                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                         Case No. 12-cr-33-PB

Craig Faulkner, et al.



                                  O R D E R


     Defendant Craig Faulkner has moved through counsel to

continue the July 10, 2012 trial in the above case, citing the

need for additional time to complete discovery and prepare for

trial.     The government and co-defendants Wendy Ford, Craig Ford,

and Sharon Cote do not object to a continuance of the trial

date.

     Accordingly, for the above reason and in order to allow the

parties additional time to properly prepare for trial, the court

will continue the trial from August 21, 2012 to November 6,

2012.     In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C.A. ' 3161(h)(7)(A) that for the above-stated

reasons, the ends of justice served in granting a continuance

outweigh the best interests of the public and the defendants in
      Case 1:12-cr-00033-PB   Document 47   Filed 07/23/12   Page 2 of 2



a speedy trial.

      The July 31, 2012 final pretrial conference is continued to

October 25, 2012 at 2:00 p.m.      No further continuances will be

granted.

      SO ORDERED.

                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

July 23, 2012

cc:   Joseph Provanzano, Esq.
      Paul Garrity, Esq.
      Theodore Lothstein, Esq.
      Behzad Mirhashem, Esq.
      Charles Keefe, Esq.
      Jennifer Davis, AUSA
      United States Marshal
      United States Probation




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